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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


MIRNA HAMMOUD,

      Plaintiff,                            Case Number: 2:19-cv-12789

                                            Honorable
v.

EQUIFAX INFORMATION
SERVICES, LLC,
CREDIT ONE BANK, N.A.; and
CREDICO, INC. d/b/a CREDIT
COLLECTIONS BUREAU, INC.,

       Defendants.
__________________________________________________________________/
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     FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff Mirna Hammoud, ("Plaintiff"), by and through his attorney, brings

this action for damages against Defendants Equifax Information Services, LLC

(“Equifax”), Credit One Bank, N.A. (“Credit One”), and Credico, Inc. d/b/a Credit

Collections Bureau, Inc. (“CCB”), (collectively, “Defendants”), alleging violations

of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq.
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                             JURISDICTION AND VENUE

1.    This Court has federal question jurisdiction because this action arises out of

violations of federal law. 28 U.S.C. §§ 1331. Jurisdiction is also proper pursuant to

15 U.S.C. 1681p (FCRA) (permitting actions to enforce liability in an appropriate

United States District Court).

2.    Venue in the United States District Court for the Eastern District of Michigan

is proper because Plaintiff resides in this District, Defendants regularly transact

business within this District and are otherwise subject to personal jurisdiction in this

District, and a substantial part of the events or omissions giving rise to this action

occurred in this District.

                                      PARTIES

3.    Plaintiff incorporates herein by reference all of the above paragraphs of this

Complaint as though fully set forth at length herein.

4.    During all time relevant to this Complaint, Plaintiff was a resident of Wayne

County, State of Michigan.

5.    Defendant Equifax is a credit reporting agency, as defined in 15 U.S.C. §

1681a(f)). On information and belief, Equifax is regularly engaged in the business

of assembling, evaluating, and disbursing information concerning consumers for

the purpose of furnishing consumer reports, as defined in 15 USC 1681a(d), to

third parties. Equifax’s principal place of business is located at 1550 Peachtree
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Street NW, Atlanta, Georgia, 30309. Equifax can be served with process through

its registered agent: CSC- Lawyers Incorporating Service, 601 Abbott Rd., Suite

2345, Lansing, Michigan 48823.

6.    Defendant Credit One is a Nevada corporation with its principal place of

business located at 6901 S. Cimarron Road, Las Vegas, NV 89113. Defendant

Credit One is an entity which engages in the practice of furnishing consumer

information to consumer reporting agencies and is therefore a “furnisher of

information” as contemplated by 15 U.S.C. § 1681s-2(a) & (b), and other sections

of the FCRA. Further, Defendant Credit One is a “person” as defined by FCRA

1681a(b).

7.    Defendant CCB is a North Dakota corporation with its principal place of

business located at 3550 E Rosser Ave, ND, 58502. Defendant CCB is an entity

which engages in the practice of furnishing consumer information to consumer

reporting agencies and is therefore a “furnisher of information” as contemplated by

15 U.S.C. § 1681s-2(a) & (b), and other sections of the FCRA. Further, Defendant

CCB is a “person” as defined by FCRA 1681a(b).

8.    On information and belief, Equifax disburses consumer reports to third

parties under contract for monetary compensation.
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9.    During all times pertinent to this Complaint, Defendants acted through

authorized agents, employees, officers, members, directors, heirs, successors,

assigns, principals, trustees, sureties, subrogees, representatives, and/or insurers.

                           FACTUAL ALLEGATIONS

10.   Plaintiff filed a Chapter 7 bankruptcy in May of 2018 and received a

discharge in August of 2018.

11.   Plaintiff was looking to rebuild her credit and waited nearly one year to

apply for credit card.

12.   In or around June of 2019, Plaintiff applied for a Kohls credit card and was

denied. As a result of the denial, Plaintiff pulled her credit reports and discovered

several inaccurate tradelines reporting only on her Equifax credit report.

13.   The inaccuracies consisted of three accounts reporting an account status as

charged off post discharge from Comenity Bank, Celtic Bank Corp and Credit One

Bank. In addition, there was an open collection account from CCB, Inc. with an

amount owed of $1,135 and another account reporting charged off with a past due

balance of $987 from TBOM/TFC (collectively “furnishers”).

14.   On or about August 2, 2019, Plaintiff mailed a dispute letter, certified mail,

to Defendant Equifax disputing all five tradelines.

15.   Upon information and belief, Defendant Equifax notified the furnishers that

Plaintiff was disputing the accounts.
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16.   Defendant Equifax, as required by the FCRA, did not send a response to

Plaintiff’s dispute within 30 days of receipt. As of the date of filing this action,

Plaintiff still has not received a response.

17.   Plaintiff viewed her Equifax credit report online and found that the

Comenity Bank tradeline’s account status was updated to report included in

bankruptcy. The Celtic Bank Corp and the TBOM/TFC accounts had been

removed.

18.   Plaintiff’s Credit One Bank tradeline continued to report an account status of

charged off and the CCB tradeline was still reporting an open collection account

with a balance of $1,135.

19.   Defendants’ actions have caused Plaintiffr to suffer actual damages,

including but not limited to, loss of credit opportunity, increased finance charges,

emotional distress, mental anguish, and embarrassment.

20.   Any violations by Defendants as set forth in this Complaint were not in good

faith, knowing, willful, and intentional, and Defendants did not maintain

procedures reasonably adopted to avoid any such violation.

                            COUNT I
             DEFENDANT EQUIFAX’S VIOLATIONS OF THE
           FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681 et seq.

21.   Plaintiff incorporates herein by reference all of the above paragraphs of this

Complaint as though fully set forth herein at length.
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22.   The Fair Credit Reporting Act provides that if the completeness or accuracy

of any item of information contained in a consumer's file at a consumer reporting

agency is disputed by the consumer and the consumer notifies the agency directly

of such dispute, the agency shall conduct a reasonable reinvestigation to determine

whether the disputed information is inaccurate or delete the item from the file

within thirty (30) days of receiving the consumer's dispute notice. 15 U.S.C. §

1681i(a)(l)(A).

23.   The Act further requires the credit reporting agency, within 5 business days

of receiving notice of the consumer's dispute, to provide notification of the dispute

to the person who furnished the information in dispute and requires the credit

reporting agency to "include all relevant information regarding the dispute that the

agency received from the consumer." 15 U.S.C. § 1681i(a)(2)(A). In conducting its

reinvestigation of disputed information in a consumer report, the credit reporting

agency is required to "review and consider all relevant information submitted by

the consumer."

24.   Within the last wo years preceding the filing of this complaint, Plaintiff

notified Defendant Equifax of an inaccuracy contained in her credit report and

asked it to correct the inaccuracy.

25.   Defendant Equifax failed to conduct a reasonable reinvestigation of the

inaccuracy that Plaintiff disputed.
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26.    Defendant Equifax failed to review and consider all relevant information

submitted by Plaintiff.

27.    Defendant Equifax failed to employ and follow reasonable procedures to

assure maximum possible accuracy of Plaintiff’s credit reports, information, and

file, in violation of 15 U.S.C. § 1681e(b).

28.    As a result of the above-described violations of § 1681i and § 1681e(b),

Plaintiff has sustained damages.

29.    Defendant Equifax’s violations of the FCRA were willful and therefore

Plaintiff is entitled to seek statutory and punitive damages.

30.    Plaintiff is entitled to recover statutory damages up to $1,000.00, punitive

damages, costs, and attorney’s fees from the Defendants in an amount to be

determined by the Court pursuant to § 1681n.

                          COUNT II
      DEFENDANTS CREDIT ONE AND CCB’S VIOLATIONS OF FAIR
           CREDIT REPORTING ACT, 15 U.S.C. § 1681 et seq.

31.    Plaintiff incorporates herein by reference all of the above paragraphs of this

complaint as though fully set forth herein at length.

32.    The FCRA requires furnishers such as Defendant Credit One and CCB, after

receiving notice from a credit reporting agency that a consumer disputes

information that is being reported by that furnisher, to conduct an investigation

with respect to the disputed information, to review all relevant information, to
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report the results of the investigation to the credit reporting agency, and, if the

investigation reveals that the information is incomplete or inaccurate, to report

those results to all other credit reporting agencies to which the furnisher has

provided the inaccurate information.

33.   Within the last two years, Defendants Credit One and CCB provided

inaccurate information to the credit reporting agencies.

34.   Within the past two years, Plaintiff notified Defendant Equifax, that its

reports concerning Defendants Credit One and CCB were inaccurate. Thereafter,

Defendant Equifax Defendant Credit One and CCB that Plaintiff was disputing the

information it had furnished to the credit reporting agencies.

35.   Defendants Credit One and CCB violated sections 1681n and 1681o of the

FCRA by engaging in the following conduct that violates 15 U.S.C. § 1681s-2(b):

  a. Willfully and negligently failing to conduct an investigation of the inaccurate

      information that Plaintiff disputed;

  b. Willfully and negligently failing to review all relevant information

      concerning Plaintiff’s account provided to Credit One and CCB.;

  c. Willfully and negligently failing to report the results of investigations to the

      relevant consumer reporting agencies;

  d. Willfully and negligently failing to report the inaccurate status of the

      inaccurate information to all credit reporting agencies;
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     e. Willfully and negligently failing to properly participate, investigate and

        comply with the reinvestigations that were conducted by any and all the

        credit reporting agencies concerning the inaccurate information disputed by

        Plaintiff;

     f. Willfully and negligently continuing to furnish and disseminate inaccurate

        and derogatory credit, account and other information concerning the Plaintiff

        to the credit reporting agencies;

     g. Willfully and negligently continuing to furnish and disseminate inaccurate

        and derogatory credit, account and other information concerning Plaintiff’s

        account to the credit reporting agencies; and

     h. Willfully and negligently failing to comply with the requirements imposed on

        furnishers of information pursuant to 15 U.S.C. §1681s-2(b).

36.      Defendants Credit One and CCB’s conduct was a direct and proximate

cause, as well as a substantial factor, in causing the serious injuries, damages and

harm to Plaintiff that are outlined more fully above, and as a result, Defendant is

liable to compensate Plaintiff for the full amount of statutory, actual and punitive

damages, along with attorneys’ fees and costs, as well as other such relief,

permitted by 15 U.S.C. § 1681n.

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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter judgment against Defendants for the following:

Fair Credit Reporting Act Violations

(a) Actual and statutory damages pursuant to 15 U.S.C. § 1681n(a)(1) and §

   1681o(a)(1);

(b) Punitive damages as the Court may allow pursuant to 15 U.S.C. §§ 1681n(a)(2);

(c) Costs and reasonable attorney fees pursuant to 15 U.S.C § 1681n(a)(3) and §

   1681o(a)(1);

(d) Such other and further relief as this Honorable Court may deem just and proper,

   including pre-judgment and post-judgment interest.

                          DEMAND FOR JURY TRIAL

Please take notice that Plaintiff demands a trial by jury in this action.


                                               Respectfully submitted,

                                               CHAMI LAW, PLLC

Dated: September 24, 2019                      By: /s/ Tarek N. Chami
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